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Attorneys for Plaintiffs
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

ESTATE OF ANDREW WAHNEE
MOPPIN-BUCKSKIN; SONJA WAHNEE
MOPPIN; MICHAEL MOPPIN; A.M.B., a
minor, by and through her guardian ad litem,
Samantha Kalka; and A.W.M.B., a minor, by
and through his guardian ad litem, Samantha
Kalka;

COMPLAINT FOR DAMAGES
(Violation of Civil Rights,
42 U.S.C. Section 1983; Wrongful Death)

JURY TRIAL DEMANDED

Plaintiffs,

VS.

 

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Y OF OAKLAND; HECTOR JIMENEZ,
1vidua11y and in his capacity as a police
cer for the City of Oakland; J. BORELLO,
1vidua11y and in her capacity as a police
cer for the City of Oakland; DOES 1-50,
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\/\./\./\/\./\./\_/\./\./VV\./\./V\/VVV

Defendants.

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COMPLAINT FOR DAMAGES

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JURISDICTION AND VENUE

1. This complaint alleges violations of the constitutional rights of ANDREW
WAHNEE MOPPIN-BUCKSKIN, deceased, his parents and minor children. The complaint
seeks remedies pursuant to 42 U.S.C. Sections 1983. Jurisdiction is conferred upon this Court
by 28 U.S.C. Sections 1331 and 1343.

INTERDISTRICT ASSIGNMENT

2, The acts and/or omissions giving rise to plaintiffs’ claims occurred Within the
City of Oakland, County of Alameda, California. Therefore, venue is proper in the Northern
District of California, San Francisco and/or Oakland Divisions pursuant to Local Rule 3-2(d).

PARTIES

3. ANDREW WAHNEE MOPPIN-BUCKSKIN, is a Native American male. He
Was shot and killed by Defendant City of Oakland Police Offlcers, HECTOR JIMENEZ, J.
BORELLO and/or DOES 1-10 and/or each of them on or about December 31, 2007. The
decedent died intestate Without leaving a Will. To the extent that this action seeks to recover
damages for the violation of rights personal to ANDREW WAHNEE MOPPIN-BUCKSKIN,
this action is maintained on behalf of the ESTATE OF ANDREW WAHNEE MOPPIN-
BUCKSKIN by his successors in interest, A.M.B. and A.W.M.B., by and through their
guardian ad litem, SAMANTHA KALKA. Said plaintiffs are persons With standing to bring
the Within action pursuant to California Code of Civil Procedure Sections 377.30.and 377.60
and California Probate Code Section 6402.

4. Plaintiffs SONJA WAHNEE MOPPIN and MICHAEL MOPPIN are the parents

of the decedent, ANDREW WAHNEE MOPPlN-BUCKSKIN. SONJA WAHNEE MOPPIN
COMPLAINT FOR DAMAGES

 

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and MICHAEL MOPPIN bring this action in their personal capacities for the violation of their
rights under the United States Constitution.

5. Plaintiffs A.M.B. and A.W.M.B. are the minor children of the decedent,
ANDREW WAHNEE MOPPIN-BUCKSKIN, and bring this action in their personal capacities
for the violation of their rights under the United States Constitution and as successors in
interest to the ESTATE OF ANDREW WAHNEE MOPPIN-BUCKSKIN, by and through
their guardian ad litem, SAMANTHA KALKA.

6. Defendant CITY OF OAKLAND was at all times mentioned herein, a
municipal corporation duly organized and existing under the laws of the State of California.

7. Defendant HECTOR JIMENEZ (hereinafter Defendant JIMENEZ) or DOE 1,
was at all times herein mentioned, a Police Officer for Defendant CITY OF OAKLAND and is
sued herein in his individual and official capacities.

8. Defendant J. BORELLO (hereinafter Defendant BORELLO) or DOE 2, was at
all times herein mentioned, a Police Officer for Defendant CITY OF OAKLAND and is sued
herein in her individual and officials capacities.

9. Plaintiffs are ignorant of the true names and/or capacities of defendants sued
herein as DOES 1 through 50, inclusive, and therefore sues said defendants by such fictitious
names. Plaintiffs will amend this complaint to allege their true names and capacities when
ascertained Plaintiffs are informed and believe, and upon such information and belief allege
that each of the Doe defendants is legally responsible and liable for the incident, injuries and
damages hereinafter set forth, and that each of said defendants proximately caused said

incidents, injuries and damages by reason of their negligence, breach of duty, negligent

COMPLAINT FOR DAMAGES

 

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supervision, management or control, battery, violation of constitutional rights, violation of
public policy, or by reason of other personal, vicarious or imputed negligence, fault, or breach
of duty, whether severally or jointly, or whether based upon agency, employment, ownership,
entrustment, custody, care or control or upon any other act or omission. Plaintiffs will ask
leave to amend this complaint to insert further charging allegations when such facts are
ascertained

10. In doing the acts alleged herein, Defendants, and each of them, acted within the
course and scope of their employment for the CITY OF OAKLAND.

11. In doing the acts and/or omissions alleged herein, Defendants, and each of
them, acted under color of authority and/or under color of law.

12. In doing the acts and/or omissions alleged herein, Defendants, and each of
them, acted as the agent, servant, employee and/or in concert with each of said other
Defendants herein,

STATEMENT OF FACTS

13. On or about the late evening/early morning of December 30-31, 2007,
Plaintiffs are informed and believe and thereon allege that Oakland Police Officers, Defendants
HECTOR JIMENEZ, J. BORELLO and/or DOES 1-10 and/or each of them, shot and killed
ANDREW WAHNEE MOPPIN-BUCKSKIN (hereinafter, “the decedent”), following a
vehicle stop in the vicinity of 1228 47th Avenue and International Boulevard in Oakland,
California.

14. Plaintiffs are further informed and believe and thereon allege that Defendants

JIMENEZ , BORELLO and/or DOES 1-10 and/or each of them, shot the decedent multiple
COMPLAINT FOR DAMAGES

 

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times while he was unarmed and was not posing and threat of deadly force or serious bodily
harm to the officer(s) and/or to anyone else.

15. Plaintiffs are further informed and believe and thereon allege that no gun or
weapon of any kind was found to be in the possession of the decedent after he was shot and
killed.

16. Plaintiffs are further informed and believe and thereon allege that the use of
force, including the use of deadly force, by Defendants JIMENEZ, BORELLO, DOES 1-10
and/or each of them, caused the violation of decedent’s rights and the personal rights of the
Plaintiffs under the United States Constitutions.

17. Plaintiffs are further informed and believe and thereon allege that they and the
decedent suffered the violation of their/his constitutional rights as a result of customs, policies,
or practices of Defendants CITY OF OAKLAND and/or DOES 11-50, and/or each of them,
individually and/or while acting in concert with one another, including, but not limited to,
customs, policies or practices which encouraged, ratified, authorized or condoned the use of
excessive force which foreseeably resulted in the violation of the rights of the decedent and/or
plaintiffs; customs, policies and/or practices of inadequate and/or inappropriate training in the
use of deadly force and/or in handling situations such as occurred in this case; customs,
policies and/or practices of conducting searches and/or seizures in violation of the United
States Constitution; customs, policies and/or practices of inadequate and/or inappropriate
supervision, control and/or discipline with respect to the use of force; customs, policies and/or
practices of subjecting young males, including males of certain racial and ethnic groups, in

Oakland to unnecessary and excessive force, unreasonable seizures and/or disparate and/or

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discriminatory treatment because of their race, gender and/or age, and/or other customs,
policies and practices that caused and/or contributed to the cause of the violation of the
constitutional rights and/or other wrongful conduct that occurred in this case subject to
continuing discovery.

18. Plaintiffs are further informed and believe and thereon allege that Defendants
CITY OF OAKLAND, DOES 11-50 and/or each of them, tacitly or directly ratified, approved
and/or condoned the shooting of the decedent and the violation of the Plaintiffs’ constitutional
rights and/or failed to take any or appropriate remedial action in response to this incident
despite the serious nature of the incident and the loss of life that occurred.

19. Plaintiffs are further informed and believe and thereon allege that prior to the
subject incident, Defendant CITY OF OAKLAND and/or Does 11-50 and/or each of them,
knew, or reasonably should have known, that Defendants JIMENEZ, BORELLO and/or DOES
1-10 and/or each of them, lacked appropriate and/or sufficient training and/or supervision in
the use of deadly force and that Defendant CITY OF OAKLAND and/or Does 11-50 and/or
each of them, Were deliberately indifferent to the need to provide more or different training,
policies and/or supervision to said officers in the use of force, including the use of deadly
force.

STATEMENT OF DAMAGES

20. As a result of this incident, Plaintiffs, and each of them, sustained darnages,

and will sustain in the future damages, including, but not limited to, damages for the violation

of their right to the familial association with the decedent, loss of the society, comfort,

COMPLAINT FOR DAMAGES

 

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affection, association and support of the decedent; funeral, medical, burial and/or other
damages to be determined according to proof.

21. The minor Plaintiffs, who are the successors in interest to the decedent, may
also be entitled to recover damages for the loss of life suffered by the decedent as a result of
the subject incident, punitive damages and/or other damages in amounts to be determined
according to proof.

22. Plaintiffs are informed and believe and thereon allege that the acts and/or
omissions of Defendants JIMENEZ, BORELLO or DOES 1-50 and/or each of them, were, or
may have been. intentional, malicious, oppressive and/or done with a conscious or callous
disregard for the safety and/or constitutional rights of the decedent and/or Plaintiffs which may
therebyjustify an award of punitive or exemplary damages in amounts to be determined
according to proof.

23. Plaintiffs will also be entitled to an award of attorneys' fees and/or costs
pursuant to statute(s) in the event that they are the prevailing parties in this action under 42
U.S.C. Sections 1983 and 1988.

CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF
(42 U.S.C. SECTION 1983)
(PLAINTIFFS A.M.B. and A.W.M.B., AS SUCCESSORS IN INTEREST TO THE
DECEDENT ANDREW WAHNEE MOPPIN-BUCKSKIN
AGAINST DEFENDANTS HECTOR JIMENEZ, J. BORELLO AND/OR DOES 1-10)

24. Plaintiffs incorporate by reference and re-allege herein Paragraphs 1 through

23.

COMPLAINT FOR DAMAGES

 

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25. In doing the acts complained of herein, Defendants JIMENEZ, BORELLO
and/or DOES 1-10 and/or each of them, individually and/or while acting in concert with one
another, did act under color of state law to deprive the decedent ANDREW WAHNEE
MOPPlN-BUCKSKIN of certain constitutionally protected rights, including, but not limited to,
the right not to be deprived of life or liberty without Due Process of Law', the right to be free
from unreasonable searches and/or seizures; the right to continued familial relationship,
association, comfort, society and affection of his parents and children; the right to be free from
discrimination based on race, age and/or gender; and/or the right to Equal Protection of the
Law.

26. Said rights are substantive guarantees under the Fourth and/or Fourteenth
Amendments to the United States Constitution.

27. As a result of the violation of the decedent’s constitutional rights as alleged
herein, decedent suffered injuries and damages, including, but not limited to the loss of the
enjoyment of life; special damages, including, but not limited to, future income and wage loss;
funeral and burial expenses; interference with his right to the familial association, society,
comfort and affection with the Plaintiffs and other general and special damages to be
determined according to proof.

28. Plaintiffs are informed and believe and thereon allege that the acts and/or
omissions of Defendants JIMENEZ, BORELLO and/or DOES 1-10 and/or each of them, were
intentional, malicious, oppressive and/or done with a conscious, callous and/or reckless
disregard for the rights of the decedent and/ or Plaintiffs. Therefore, Plaintiffs pray for an

award of punitive damages in amounts to be determined according to proof.

COMPLAINT FOR DAMAGES

 

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29. Plaintiffs are also entitled to recover their attorneys’ fees and costs pursuant to

42 U.S.C. Sections 1983, 1988 and/or other applicable law.
WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
SECOND CLAIM FOR RELIEF
(42 U.S.C. SECTION 1983)
(ALL PLAINTIFFS INDIVIDUALLY AGAINST
DEFENDANTS JIMENEZ, BORELLO AND/OR DOES 1-10)

30. Plaintiffs incorporate by reference and re-allege herein Paragraphs 1 through 29.

31. ln doing the acts complained of herein, Defendants JIMENEZ, BORELLO
and/or DOES 1-10, individually and/or while acting in concert with one another, did act under
color of state law to deprive the Plaintiffs, as alleged heretofore, of certain constitutionally
protected rights, including, but not limited to, the right to continued familial association,
society, comfort, affection, support and companionship of the decedent as guaranteed by the
Fourteenth Amendment to the United States Constitution.

32. As a result of the violation of the Plaintiffs’ constitutional rights as alleged
herein, Plaintiffs suffered, and will continue to suffer in the future, injuries and damages,
including, but not limited to, loss of comfort, affection, society, support, companionship and
familial association of the decedent, pain, suffering and emotional distress, funeral and burial
expenses, loss of income and/or support, in amounts to be determined according to proof.

33. Plaintiffs are informed and believe and thereon allege that the acts and/or

omissions of Defendants JIMENEZ, BORELLO and/or DOES 1-10 and/or each of them, were

intentional, malicious, oppressive and/or done with a conscious, callous and/or reckless

COMPLAINT FOR DAMAGES

 

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disregard for the rights of the decedent and/or Plaintiffs. Therefore, Plaintiffs pray for an
award of punitive damages in amounts to be determined according to proof.

34. Plaintiffs are also entitled to recover their attorneys’ fees and costs pursuant to
42 U.S.C. Sections 1983, 1988 and/or other applicable law.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
THIRD CLAIM FOR RELIEF
(42 U.S.C. SECTION 1983)
(ALL PLAINTIFFS AGAINST THE CITY OF OAKLAND, DOES 11-50)

35. Plaintiffs incorporate by reference and re-allege herein Paragraphs 1 through
34.

36. As against Defendants CITY OF OAKLAND and/or DOES 11-50, the
Plaintiffs, and each of them, allege that the violation of the constitutional rights of the Plaintiffs
and/or decedent as alleged heretofore were caused as a result of customs, policies and/or
practices of Defendants CITY OF OAKLAND and/or DOES l l-50 and/or each of them.

37. Plaintiffs are further informed and believe and thereon allege that prior to the
subject incident, Defendant CITY OF OAKLAND and/or DOES 11-50 and/or each of them,
were on actual notice of customs, policies, patterns and practices by members of the CITY OF
OAKLAND Police Department, including, but not limited to, policies which caused citizens to
subjected to unreasonable seizures, the use of excessive force, disparate and/or discriminatory
treatment based on race, gender and/or age.

38. Plaintiffs are further informed and believe and thereon allege that despite said
notice, Defendants CITY OF OAKLAND and/or DOES 11-50 and/or each of them, failed to

take any or appropriate remedial action to prevent ongoing violations of the rights of citizens

COMPLAINT FOR DAMAGES

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by members of its police department to prevent ongoing incidents involving unreasonable
seizures, the use of excessive force and/or disparate and/or discriminatory treatment based on
age, race and/or gender.

39. Plaintiffs are further informed and believe and thereon allege that prior to the
subject incident, Defendants CITY OF OAKLAND and/or DOES 11-50, and/or each of them,
knew, and/ or reasonably should have known, that Defendants JIMENEZ, BORELLO and/or
DOES 1-10 and/or each of them, needed more and/or different training, supervision and/or
discipline in the use of force, including the use of deadly force, but failed to provide any or
adequate training supervision and/or discipline prior to the subject incident and/or were
deliberately indifferent to the need for more or different training, supervision, discipline and/or
policies relating to the use of force and/or the use of deadly force prior to the subject incident,

40. Plaintiffs are further informed and believe and thereon allege that Defendant
CITY OF OAKLAND and/or DOES 11-50 and/or each of them, ratified, approved and/or
condoned the violation of the constitutional rights of the Defendants and/or Plaintiffs as alleged
herein and, as of the date of this Complaint, have failed to take any remedial action as a result
of the shooting death of the decedent.

41. As a result of the aforesaid customs, policies, practices and/or ratification of
constitutional violations as alleged herein by Defendants CITY OF OAKLAND and/or DOES
11-50 and/or each of them, Plaintiffs and/or decedent suffered the violation of their
constitutional rights, including, but not limited to, the right to the right of the Plaintiffs and
decedent to the continued familial association, society, comfort, affection, support and

companionship between said Plaintiffs and decedent, the right to be free from unreasonable

COMPLAINT FOR DAMAGES

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seizures, the right to privacy and personal security, the right not to be deprived of life or liberty
without Due Process of Law and/or the Right to Equal Protection of the Law which are
guaranteed by the Fourth and/or Fourteenth Amendments to the United States Constitution.

42. As a result of the violation of the Plaintiffs’ constitutional rights as alleged
herein, Plaintiffs suffered, and will continue to suffer in the future, injuries and damages,
including general and special damages as more particularly described hereinabove and herein
below.

43. Plaintiffs are also entitled to recover their attomeys’ fees and costs pursuant to
42 U.S.C. Sections 1983, 1988 and/or other applicable law.

WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.
FOURTH CLAIM FOR RELIEF
(WRONGFUL DEATH)
(ALL PLAINTIFFS AGAINST ALL DEFENDANTS)

44. Plaintiffs incorporate by reference and re-allege herein Paragraphs 1 through
43.

45. At all times mentioned in this Complaint, defendants, and each of them, had a
duty to use reasonable care to avoid causing foreseeable harm to decedent and to refrain from
committing intentional torts against decedent, ANDREW WAHNEE MOPPlN-BUCKSKIN.

46. Defendants HECTOR JIMENEZ, .1 . BORELLO and/or DOES 1-10 and/or
each of them, breached said duty while acting within the course and scope of their employment
for defendant CITY OF OAKLAND by negligently using excessive and deadly force against
the decedent, ANDREW WAHNEE MOPPfN-BUCKSKIN, causing decedent’s death and/or

by committing intentional acts against decedent, ANDREW WAHNEE MOPPIN-
COMPLAINT FOR DAMAGES

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BUCKSKIN, including, but not limited to, by violating California Civil Code Sections 51 .7
and/or 52.1,

47. Defendants CITY OF OAKLAND and/or DOES 11-50 and/or each of them,
breached their duty to use reasonable care by negligently hiring, training, retaining, supervising
and disciplining defendants HECTOR JIMENEZ, J. BORELLO and/or DOES 1-10 and/or
each of them, ln doing the acts alleged herein, defendants CITY OF OAKLAND and/or DOES
11-50 and/or each of them, caused and/or contributed to the cause of, decedent’s death.

48. Plaintiffs and/ or each of them, were dependent upon decedent for financial
support, love, society, comfort, companionship and affection, As a result of the negligence
and/or intentional torts of defendants and/or each of them, said plaintiffs have, and/or will in
the future, suffer pecuniary damage in amounts to be determined according to proof.

49. Plaintiffs are informed and believe and thereon allege that the acts and/ or
omissions of defendants HECTOR JIMENEZ, J. BORELLO and/or DOES 1-10 and/or each of
them, which caused the death of decedent, were intentional, malicious, oppressive, fraudulent
and/or done with a conscious or reckless disregard for the safety and life of the decedent.

50. Pursuant to California Civil Code Sections 51.7, 52 and/or 52.1, Plaintiffs
and/or each of them, are entitled to an award of attorneys’ fees, costs and/or statutory damages
in amounts to be determined according to proof.

WHEREFORE, plaintiffs pray for relief as hereinafter set forth.
COMPLIANCE WITH TORT CLAIM REQUIREMENT
51. Pursuant to the California Tort Claims Act, plaintiffs presented a timely Tort

Claim to the City of Oakland. Said Tort Claim was rejected by the City of Oakland.
COMPLAINT FOR DAMAGES

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JURY TRIAL DEMAND
52. Plaintiffs hereby demand a jury trial.
PRAYER

WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as
follows:

1. General damages in the amount of $10 million dollars or in an amount to be
determined according to proof;

2. Special damages, including but not limited to, past, present and/or future wage
loss, income and support, medical expenses, funeral and burial expenses and/or other special

damages in amounts to be determined according to proof;

3. Attomeys' fees pursuant to statutes;
4. Costs of suit;
5. Punitive and exemplary damages in amounts to be determined according to proof

as to Defendants JIMENEZ, BORELLO and/or DOES 1-50, and/or each of them;
6. For prejudgment interest as permitted by law;

7. For such other and further relief as the Court may deem just and proper.

DATED; ' /
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ttome?aintiffs
September 9, 2008 l l j

/JTAMES B. CHANIN

Attomey for Plaintiffs

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